




NO. 07-05-0047-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



FEBRUARY 28, 2005

______________________________



SANTIAGO DIAZ, JR.,



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 242nd DISTRICT COURT OF HALE COUNTY;



NO. B14359-0203; HON. EDWARD L. SELF, PRESIDING

_______________________________



ON MOTION TO DISMISS



__________________________________



Before QUINN, REAVIS and CAMPBELL, JJ.

Appellant Santiago Diaz, Jr., by and through his attorney, has filed a motion to dismiss this appeal because he no longer desires to prosecute it. &nbsp;Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.1(a)(2) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

Brian Quinn

 &nbsp;&nbsp;Justice

Do not publish.


